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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
DR. DOUGLAS SCHOTTENSTEIN, M.D.,       :
THOMPSON REAL ESTATE, LLC and          :
SCHOTTENSTEIN PAIN AND NEURO, PLLC,    :              22cv1197 (DLC)
                                       :
                          Plaintiffs,  :           MEMORANDUM OPINION
                                       :                AND ORDER
               -v-                     :
                                       :
DEREK LEE and PEARL CHAN,              :
                                       :
                          Defendants.  :
                                       :
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APPEARANCES:

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DENISE COTE, District Judge:

       In this action, Dr. Douglas Schottenstein alleges that the

two defendants, his former employees at Schottenstein Pain &

Neuro, PLLC d/b/a NY Spine Medicine (the “Medical Practice”),

took his money through fraud by wiring money out of his bank

accounts and charging his credit cards, among other things.              He

has moved for summary judgment.           His motion is denied.

       Dr. Schottenstein and businesses he owns filed this action

on February 11, 2022.1      Plaintiffs filed their first amended

complaint (“FAC”) on November 4, asserting claims against

defendants Derek Lee (“Lee”) and Pearl Chan (“Chan”) for

violations of the Racketeer Influenced and Corrupt Organizations

Act (RICO), 18 U.S.C. § 1962 et seq., fraud, conversion,

tortious interference with contract, battery, conspiracies to

commit fraud and tort, and intentional infliction of emotional

distress.2    The defendants answered the FAC on December 8,

asserting counterclaims for unpaid wages and violations of the

New York City Human Rights Law based on gender discrimination,




1   The action was reassigned to this Court on August 17, 2022.

2 The FAC also asserted claims against Kong H. Chan, the father
of Pearl Chan. Those claims were dismissed in an Opinion and
Order of July 6, 2023. See Schottenstein v. Lee, 22cv1197
(DLC), 2023 WL 4363002 (S.D.N.Y. July 6, 2023).

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sexual harassment, hostile work environment, racial

discrimination, retaliation and constructive discharge.

     Following the conclusion of discovery, the plaintiffs moved

for partial summary judgment on August 18, 2023, on the claim of

conversion.     Summary judgment may only be granted when “the

movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a).     Material facts are facts that “might

affect the outcome of the suit under the governing law.”          Choi

v. Tower Rsch. Cap. LLC, 2 F.4th 10, 16 (2d Cir. 2021) (citation

omitted).     In considering a motion for summary judgment, a court

“construe[s] the facts in the light most favorable to the non-

moving party and must resolve all ambiguities and draw all

reasonable inferences against the movant.”        Kee v. City of New

York, 12 F.4th 150, 158 (2d Cir. 2021) (citation omitted).

     Under New York law “conversion is the unauthorized

assumption and exercise of the right of ownership over goods

belonging to another to the exclusion of the owner's rights.”

V&A Collection, LLC v. Guzzini Props. Ltd., 46 F.4th 127, 133

(2d Cir. 2022) (citation omitted).       To state a claim of

conversion, the plaintiff must establish that

     (1) the party charged has acted without authorization,
     and (2) exercised dominion or a right of ownership
     over property belonging to another, (3) the rightful
     owner makes a demand for the property, and (4) the
     demand for the return is refused.

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Rynasko v. New York Univ., 63 F.4th 186, 196 (2d Cir. 2023)

(citation omitted).    No demand is necessary where the

plaintiff can show that the defendant knew that he or she

wrongfully possessed the property.        Leveraged Leasing

Admin. Corp. v. PacifiCorp Capital, Inc., 87 F.3d 44, 49–50

(2d Cir. 1996).

     Where, as here, a plaintiff brings a claim for conversion

of money, “an action will lie . . . where there is a specific,

identifiable fund and an obligation to return or otherwise treat

in a particular manner the specific fund in question.”          Bascunan

v. Elsaca, 874 F.3d 806, 820 n.56 (2d Cir. 2017) (citation

omitted).   Funds are specifically identifiable when the funds

constitute a “specific sum” that is “determinate and reflects an

ascertained amount.”    Family Health Mgmt., LLC v. Rohan Devs.,

LLC, 171 N.Y.S.3d 44, 50 (1st Dep’t 2022) (citation omitted).

     In sworn affidavits, both Chan and Lee assert that Dr.

Schottenstein instructed the defendants to carry out the

disputed financial transactions.        Plaintiffs assert that there

are no material facts in dispute because the defendants’

assertion of authorization is “patently absurd.”         A jury will

have to determine whether Dr. Schottenstein authorized the

transactions or not.    Therefore, summary judgment is denied.

     In this motion, Dr. Schottenstein has moved as well for

summary judgment on a claim not pleaded in the FAC, a claim of

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breach of fiduciary duty by a faithless servant.         To the extent

Dr. Schottenstein wishes to proceed to trial on this claim, he

must move to amend the FAC.     The Court declines to consider a

motion for summary judgment on a claim that has not yet been

pleaded.

     Finally, the plaintiffs move to bifurcate for the purposes

of trial the plaintiffs’ claims from the defendants’

counterclaims.   The defendants object to this request.         The

request to bifurcate is denied.

     Rule 42(b), Fed. R. Civ. P., allows a court to order a

separate trial of one or more issues “for convenience, to avoid

prejudice, or to expedite and economize.”        The plaintiffs have

not shown that bifurcation is appropriate.        The evidence for the

claims and counterclaims overlaps.       This includes evidence about

the relationship between Dr. Schottenstein and his employees and

the scope of the defendants’ duties.        Many of the same witnesses

will be necessary for the claims and counterclaims.

Accordingly, the plaintiffs’ request to bifurcate is denied.


                               Conclusion

     The plaintiffs’ August 18, 2023 motion for partial summary

judgment and bifurcation is denied.       A scheduling order placing

this case on the March 2024 trial ready calendar accompanies




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